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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

In re:                                           §
                                                 §
Watson Grinding and Manufacturing Co.            §
                                                 §          Case No. 20-30967
          Debtor.                                §             Chapter 11
                                                 §
                                                 §          Expedited Hearing Requested

     ORDER DIRECTING ISSUANCE OF INSURANCE CHECK FOR PROPERTY
             DAMAGE TO WATSON CAMPUS BUILDINGS 1 AND 3


         On March 30, 2020 the Court held a held a hearing on the Expedited Motion of KMHJ,

Ltd for Order Directing Property Damage Insurance Carrier to Issue Insurance Check Solely to

KMHJ, Ltd. for Property Damage to Watson Campus Buildings 1 and 3 Owned by KMHJ, Ltd.

(the “Motion”). Based on the evidence presented at the hearing and the arguments of counsel,

the Court has concluded the Motion has merit and should be approved.

Therefore, it is ORDERED THAT:

                1.     United Fire Group is authorized and directed to make a check payable solely

         and directly to KMHJ, Ltd. (“KMHJ”) in the sum of $2,200,000.00 (the “Check”) relating

         to commercial property coverage provided pursuant to Watson Grinding and

         Manufacturing Co., Inc. (“WGM”) Policy 85319121 (for Watson Campus Buildings 1 and

         3 owned by KMHJ) within three days after receipt of the Court’s Order, by delivering same

         to KMHJ’s counsel Jackson Walker LLP, Attn: Janet Douvas Chafin, 1401 McKinney,

         Suite 1900, Houston, Texas 77010. Counsel for KMHJ shall provide a copy of the Court’s

         Order to United Fire Group.

                2.     Provided that neither WGM nor its bankruptcy estate (nor any person or

         entity acting by, through, or under WGM or its bankruptcy estate) avoids or otherwise


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       recovers any portion of the funds delivered to KMHJ via the Check, KMHJ waives the

       following: (i) any claim against WGM and its bankruptcy estate for post-petition rent from

       March 1, 2020 to August 31, 2020, and (ii) rejection damages for any rejection of the

       Commercial Lease Agreement effective January 1, 2019 between KMHJ as landlord and

       WGM as tenant (the “Lease”).

               3.      The Lease will be assumed or rejected no later than August 31, 2020.

               4.      Nothing contained in this Order or any payment made pursuant to the

       authority granted by this Order is intended to be or shall be deemed as (i) an admission as

       to the validity of any claim against WGM, (ii) a waiver of WGM’s or any appropriate party-

       in-interest’s rights to dispute the amount of, basis for, or validity of any claim, (iii) a waiver

       of WGM’s or any other party-in-interest’s rights under the Bankruptcy Code or any other

       applicable non-bankruptcy law, or (iv) an approval, adoption, assumption, or rejection of

       any agreement, contract, program, policy, or lease under section 365 of the Bankruptcy

       Code.

               5.      WGM is authorized to execute any additional documents, in consultation

       with the January 24 Claimants Committee, as may be required to carry out the intent and

       purpose of this Order.


Signed: _______________, 2020.
                                                        _____________________________
                                                        Marvin Isgur
                                                        U.S. Bankruptcy Judge




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